Case 1: 05- -c\/- -01012- .]DT- STA Document 11 Filed 05/10/05 Page 1 of 3 Page|D 7

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IN THE UNITED STATES DISTR.ICT coURT 01?{_’ %/OC
FoR THE WESTERN DISTRICT oF TENNESSE€%;,

EASTERN DIVISION /O
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t ja 171/§§ @§;O»)
Edward Voorhies ) "'G{fg}j/,§-"
) n.
Plaintiff, )
)
VS. ) Civil Action #: 05-1012-T
)
COMMISSIONER OF )
SOCIAL SECURITY, )
)
Defendant. )

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare his brief;
lt is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an
additional period of time, up to and including May 23, 2005§ to file his brief in support of his

appeal.

 

Thls document entered on the docket sheet ln compliniwce
with nme ss and: or 79 {a) FRCP on §

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cause shown, Plaintiff moves this Court to grant an additional period of time for Plaintiff
to file his brief in support of the complaint, such additional time extending to and
including May23, 2005.

Res » ectfully submitted,

 

73 1-424- 1305
TN BPR #006600

CERTIFICATE OF SERVICE

I certify that I have served a copy of the foregoing motion upon the Honorable Joe B.
Dycus, Assistant United States Attorney, Federal' » ' 67 N. Main Street, Suite 800
Mernphis, TN 38103, this the 9"‘ day/of ~ -

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-010]2 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

 

 

Joe A. Dycus

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Honorable J ames Todd
US DISTRICT COURT

